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                                                                        (SPACE BELOW FOR FILING STAMP ONLY)
 1
          HARRY M. DRANDELL, #109293
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 2               1221 VAN NESS AVENUE, SUITE 450
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 3                     PHONE (559) 442-8888
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 4

 5
     ATTORNEYS FOR Defendant, Brandon MichaelThomas
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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                   ******
10
     UNITED STATES OF AMERICA,                       CASE NO.: 1:14-CR-00228 LJO SKO
11
                      Plaintiff,                     STIPULATION AND ORDER
12                                                   TO CONTINUE SENTENCING HEARING
     v.
13
     BRANDON MICHAEL THOMAS,                         Date: August 29, 2016
14
                                                     Time: 8:30 a.m.
15                    Defendant.                     Judge: Lawrence J. O’Neill

16

17          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United

18   States Attorney, through Grant B. Rabeen, Assistant United States Attorney, attorneys for
19   Plaintiff and Harry M. Drandell, attorney for Brandon Michael Thomas, that the sentencing
20
     hearing, currently scheduled for August 29, 2016, may be continued to December 5, 2016 at
21
     8:30 a.m.
22
            This continuance is made at the request of defendant in order for him to graduate from
23
     the M.R.T. (Moral Reconation Therapy) program.         It is anticipated that he will graduate
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     sometime in mid to late November. Defense counsel has already filed his Formal Objections to
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     the Presentence Report. The government has no objection to the continuance.
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 1          The parties agree that the delay resulting from the continuance shall be excluded in the

 2   interests of justice, including, but not limited to, the need for the period of time set forth herein
 3   for the effective defense preparation pursuant to 18 U.S.C. §§3161(h)(7)(A), (B)(ii), and (iv).
 4
     Dated: August 22, 2016                 Respectfully submitted,
 5

 6                                          LAW OFFICES OF HARRY M. DRANDELL
 7
                                            /s/ Harry M. Drandell
 8                                          __________________________________
                                            HARRY M. DRANDELL
                                            Attorney for Defendant,
 9                                          BRANDON MICHAELTHOMAS

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11
                                            PHILLIP A. TALBERT
12
                                            /s/ Grant B. Rabenn
13                                          ________________________________
                                            GRANT B. RABENN
                                            Assistant U.S. Attorney
14                                          Attorneys for Plaintiff
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     Case 1:14-cr-00228-JLT-SKO Document 347 Filed 08/22/16 Page 3 of 3
 1                                   ORDER

 2          IT IS HEREBY ORDERED, the Court, having received, read, and considered the

 3   parties stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its

 4   entirety as its order. The Court orders the August 29, 2016 sentencing hearing continued to

 5   December 5, 2016 at 8:30 a.m.
 6
     IT IS SO ORDERED.
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 8
        Dated:    August 22, 2016                         /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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